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6    Attorney for Defendant
     RENE CORRAL
7
                                   IN THE UNITED STATES DISTRICT COURT
8

9                                    EASTERN DISTRICT OF CALIFONRIA

10
     THE UNITED STATES OF AMERICA                        Case No.: 2:14-CR-00300-2
11
                      Plaintiff,
12
     vs.                                                 STIPULATION AND ORDER
13                                                       CONTINUING JUDGEMENT AND
14   RENE CORRAL,                                        SENTENCING DATE

15                    Defendant.
16

17                                                     STIPULATION
18           The United States, by and through its undersigned counsel, and the defendant, by and
19
     through his counsel of record, hereby stipulate as follows:
20
             1.       This matter was previously set for a Judgment and Sentencing Hearing on
21

22                    February 2nd, 2018. The hearing was then continued to February 16th, 2018.

23           2.       The PSR related to this case has been completed. However, a continuance of the
24                    sentencing date is requested by the parties and agreed to by probation officer
25
                      Erica Tatum, in order to provide further time for the consideration of newly raised
26
                      objections to the report.
27

28
     STIPULATION AND ORDER CONTINUING JUDGMENT
                                            1 AND SENTENCING DATE
     CASE NO: 2:13 CR 00040-006
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1            4.       Counsel’s Written Objections to the Pre-Sentence Report Shall be delivered to the
2
                      Probation Officer No Later than March 2, 2018 (four weeks before sentencing).
3
             5.       The amended Pre-Sentence Report Shall Be Filed with the Court No Later than
4
                      March 9, 2018 (three weeks before sentencing).
5

6            6.       Motion for Correction of the Pre-Sentence Report Shall be Filed with the Court

7                     No Later than March 16, 2018 (two weeks before sentencing), any Reply or
8
                      Statement shall be filled by March 23, 2018. (one week before sentencing).
9
             7.       By this Stipulation, the parties now move to continue the Judgment and
10
                      Sentencing Hearing until March 30, 2018 at 9:00 a.m.
11

12                    IT IS SO STIPULATED

13   Dated: February 8, 2018                              _/s/ Justin L. Lee_______________
                                                          JUSTIN L. LEE
14
                                                          Assistant U.S. Attorney
15
                                                          _/S/_Jesse Garcia_______________
16                                                        Attorney for Defendant
                                                          RENE CORRAL
17

18
                                                          ORDER
19
             IT IS SO FOUND AND ORDERED
20

21           Dated: February 8, 2018

22

23

24

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27

28
     STIPULATION AND ORDER CONTINUING JUDGMENT
                                            2 AND SENTENCING DATE
     CASE NO: 2:13 CR 00040-006
